          FIRST DISTRICT COURT OF APPEAL
                 STATE OF FLORIDA
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                         No. 1D2023-2022
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VIVIAN C. LAVINDER, Former
Wife,

    Appellant,

    v.

RICHARD M. BRYSON, JR.,
Former Husband,

    Appellee.
                  _____________________________


On appeal from the Circuit Court for Escambia County.
John L. Miller, Jr., Judge.


                         August 21, 2024

PER CURIAM.

    In this post-dissolution of marriage case, Vivian Lavinder,
appeals the denial of her motions for contempt and for accounting
arrearages. While finding no error in the trial court’s denial of the
motions, we remand only for correction of the order as detailed
below.

    The parties divorced in 2004 and a Final Judgment of Divorce
was entered in Alabama. That judgment adopted the parties’
marital settlement agreement (MSA). Under the MSA, Mr. Bryson
agreed to pay Ms. Lavinder $1,000 per month in periodic alimony.
Over time, Bryson’s alimony obligation was satisfied through
Lavinder’s receipt of Mr. Bryson’s Social Security benefits.

     Later, Mr. Bryson relocated to Florida. In 2013, Ms. Lavinder
filed in the Circuit Court for Escambia County in Florida a Verified
Petition to Establish Foreign Decree as Florida Order and for
Enforcement of the MSA. In 2014, that court issued an order
declaring it would apply Alabama law to resolve the legal issues
raised in Lavinder’s petition in interpreting the MSA. The court
also concluded that under Frazier v. Frazier, 455 So. 2d 883 (Ala.
Civ. App. 1984), Social Security benefits may be used to satisfy an
alimony obligation or stated another way, were a credit against
alimony due.

     Over the years, while her petition remained pending in the
trial court, Ms. Lavinder continued to challenge the applicability
of Frazier and whether Mr. Bryson was indeed entitled to a credit
against the required alimony payments for the payments she was
receiving through his Social Security benefits.

     In 2022, Ms. Lavinder filed a motion for contempt and a
motion for accounting of alimony arrearage. The trial court denied
these motions, finding that because Lavinder was receiving,
through Mr. Bryson’s Social Security benefits, payments in excess
of the alimony obligation, the alimony obligation was “terminated
as a matter of law.” The trial court also terminated “as a matter of
law,” a condition of the MSA that Mr. Bryson maintain life
insurance with Ms. Lavinder as the named beneficiary.

     It is the appeal of the denial of these motions that brings the
case now before us. This Court has jurisdiction as the order
appealed is an appealable final order. See Kyle v. Carter, 290 So.
3d 640, 641 (Fla. 1st DCA 2020) (“A post-judgment contempt order
is an appealable final order.”) (citing Orban v. Rorrer, 279 So. 3d
234, 236 (Fla. 3d DCA 2019)).

     “A trial court may hold a party in contempt for intentionally
failing to comply with a court order.” St. Onge v. Carriero, 252
So.- 3d 1280, 1281 (Fla. 1st DCA 2018) (citing Rojo v. Rojo, 84
So. 3d 1259, 1261–62 (Fla. 3d DCA 2012)). In civil contempt
proceedings for the non-payment of alimony, the movant has the


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initial burden of showing that there is a prior court order clearly
requiring the responding party to pay alimony and that the
responding party failed to make the ordered payments. See Wix v.
Wix, 159 So. 3d 312, 314 (Fla. 2d DCA 2015); cf. Sears v. Sears,
617 So. 2d 807, 809 (Fla. 1st DCA 1993).

     Ms. Lavinder did not carry her burden here. While the MSA
adopted under Alabama final judgment requires Mr. Bryson to pay
alimony, the trial court correctly determined that Ms. Lavinder did
not establish that Mr. Bryson failed to meet his alimony obligation.
The trial court applied Alabama law and Frazier specifically to
conclude that the payment of Bryson’s Social Security benefits to
Lavinder satisfied his alimony obligation in full. Further, despite
filing the motions and setting a hearing, Ms. Lavinder failed to
appear at the contempt hearing. Thus, she introduced no
admissible evidence to prove that Bryson failed to make the
required alimony payments. For these reasons, we find no error in
the trial court’s decision to deny Lavinder’s motions for contempt
and for an accounting of the alleged alimony arrearage.

     However, it its written order, the trial court incorrectly
concluded that Mr. Bryson’s alimony and life insurance obligations
were “terminated as a matter of law.” First, the trial court lacked
jurisdiction to terminate the alimony requirement. See §
88.2111(2), Fla. Stat. (“A tribunal of this state may not modify a
spousal support order issued by a tribunal of another state or
foreign country having continuing, exclusive jurisdiction over that
order under the law of that state or foreign country.”). Second,
under Frazier, an alimony obligation is not terminated through the
payment of Social Security benefits. Rather, the party required to
pay alimony receives a credit against an alimony obligation for
Social Security payments or benefits received by the other party.
See Frazier, 455 So. 2d at 885. To be sure, such a credit may
completely satisfy or exceed Mr. Bryson’s alimony obligation (in
which case he could be due a reimbursement), but that credit does
not extinguish the alimony obligation. Thus, we remand with
instructions that the language terminating the alimony “as a
matter of law” be stricken from the order.

    AFFIRMED in part, and REMANDED with instructions.



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LEWIS, ROWE, and M.K. THOMAS, JJ., concur.

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    Not final until disposition of any timely and
    authorized motion under Fla. R. App. P. 9.330 or
    9.331.
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Olivia M. Brooks and Jerry L. Rumph, Jr., Brooks Law,
Tallahassee; and Richard K. Vann, Jr., Copeland, Franco, Screws
&amp; Gills, PA, Montgomery, Alabama, for Appellant.

Todd M. LaDouceur and Chris K. Ritchie, Galloway, Johnson,
Tompkins, Burr &amp; Smith, P.L.C., Pensacola, for Appellee.




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